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                                                    [ADDITIONAL COUNSEL LISTED BELOW]
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                                               17
                                                                                UNITED STATES DISTRICT COURT
                                               18
                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                               19

                                               20   MARC OPPERMAN, et al.,                         Case No. 13-cv-00453-JST
                                               21                         Plaintiffs,              PLAINTIFFS’ NOTICE OF MOTION
                                                                                                   AND MOTION FOR PRELIMINARY
                                               22          v.                                      APPROVAL OF CLASS ACTION
                                                                                                   SETTLEMENT; MEMORANDUM OF
                                               23   PATH, INC., et al.,                            POINTS AND AUTHORITIES
                                               24
                                                                          Defendants.              Hearing Date: May 25, 2017
                                               25
                                                                                                   Time:         2:00 p.m.
                                                                                                   Courtroom:    9, 19th Floor (San Francisco)
                                               26
                                                                                                   THIS MOTION RELATES TO:
                                               27                                                  Opperman v. Path, Inc., No. 13-cv-453-JST
                                                                                                   Hernandez v. Path, Inc., No. 12-cv-1515-JST
                                               28



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                                                                MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT, ETC.
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                                               1    TO THE COURT, ALL PARTIES, AND COUNSEL OF RECORD:
                                               2           PLEASE TAKE NOTICE that on May 25, 2017, at 2:00 PM, or as soon thereafter as
                                               3    the matter may be heard, in Courtroom 9, 19th Floor of the United States District Courthouse,
                                               4    450 Golden Gate Avenue, San Francisco, California, 94102, before the Honorable Jon S. Tigar,
                                               5    Plaintiffs Allen Beuershausen, Giuliana Biondi, Lauren Carter, Stephen Dean, Stephanie
                                               6    Cooley, Jason Green, Claire Hodgins, Gentry Hoffman, Rachelle King, Nirali Mandalaywala,
                                               7    Claire Moses, Judy Paul, and Gregory Varner (hereinafter, “Plaintiffs”), on their own and on
                                               8    behalf of the Settlement Class (as defined below), will and hereby do move this Court for an
                                               9    Order: (1) granting preliminary approval of the proposed Settlement Agreement (as defined
                                               10   below); (2) certifying for settlement purposes only the proposed Settlement Class, as defined in
                                               11   the Settlement Agreement; (3) appointing the law firms constituting the Plaintiffs’ Steering
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                                               12   Committee (ECF No. 400) as Class Counsel representing the proposed Settlement Class; (4)
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                                               13   appointing Plaintiffs as Representative Plaintiffs representing the Settlement Class; (5)
          San Francisco, CA 94129




                                               14   approving the parties’ proposed Notice Plan, including the proposed forms of notice, as set forth
                                               15   in the Settlement Agreement, and directing that notice be disseminated pursuant to such
                                               16   program; (6) appointing KCC Class Action Services, LLC as the Settlement Administrator, and
                                               17   directing KCC Class Action Services, LLC to carry out the duties and responsibilities of the
                                               18   Settlement Administrator specified in the Settlement Agreement; (7) approving the parties’
                                               19   proposed Electronic Claim Form, and approving the procedures set forth in the Settlement
                                               20   Agreement for Settlement Class Members to submit claims, exclude themselves from the
                                               21   Settlement Class, and/or object to the Settlement Agreement; (8) staying all non-settlement
                                               22   related proceedings in the Action against the App Defendants pending final approval of the
                                               23   Settlement Agreement; and (9) scheduling a hearing pursuant to Rule 23(e) of the Federal Rules
                                               24   of Civil Procedure to determine whether the Settlement Agreement is fair, reasonable, and
                                               25   adequate and should be finally approved as well as a hearing on Class Counsel’s motion for an
                                               26   award of attorneys’ fees, costs and Representative Plaintiffs’ enhancement awards.
                                               27          The grounds for this motion are that the Settlement Agreement is within the range of
                                               28   reasonableness to be finally approved as fair, adequate and reasonable in all respects.


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                                               1           This Motion is based upon this Notice of Motion and Motion, the attached Memorandum
                                               2    of Points and Authorities, the Settlement Agreement filed herewith, the accompanying
                                               3    Declarations of David M. Given, Michael von Loewenfeldt, Jeff Edwards, Carl Schwenker, and
                                               4    Jennifer Sarnelli, the papers and records on file in this Action, and such other written and oral
                                               5    arguments as may be presented at or before the hearing to the Court.
                                               6
                                                    Dated: April 3, 2017                          /s/ David M. Given____________________
                                               7
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                                               12                                       Plaintiffs’ Steering Committee
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                                                                   MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT, ETC.
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                                               1                        MEMORANDUM OF POINTS AND AUTHORITIES
                                               2    I.       INTRODUCTION
                                               3             Plaintiffs, on behalf of themselves and all Settlement Class Members (as defined below),
                                               4    respectfully submit for the Court’s preliminary approval a proposed Class Action Settlement
                                               5    Agreement (the “Settlement Agreement” filed herewith) resolving the above-captioned action
                                               6    against Defendants Foodspotting, Inc. (“Foodspotting”), Foursquare Labs, Inc. (“Foursquare”),
                                               7    Gowalla, Inc. (“Gowalla”), Instagram, LLC (“Instagram”), Kik Interactive, Inc. (“Kik”), Kong
                                               8    Technologies, Inc. (formerly known as Path, Inc.) (“Path”), Twitter, Inc. (“Twitter”) and Yelp!
                                               9    Inc. (“Yelp”) (collectively, the “App Defendants”).
                                               10            Pursuant to the terms of the Settlement Agreement, the App Defendants will pay $5.3
                                               11   million to establish a non-reversionary common fund from which Settlement Class Members
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                                               12   who submit valid claims will be sent cash or cash-equivalent payments on a per app basis. The
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                                               13   majority of the costs of administration shall be borne by the App Defendants on top of the
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                                               14   foregoing amount.
                                               15            The Settlement Agreement will end the case against the App Defendants for invasion of
                                               16   privacy/intrusion upon seclusion and against Apple for aiding and abetting the same. The
                                               17   misrepresentation case against Apple will continue.
                                               18            The Settlement Agreement is the product of protracted and highly adversarial litigation,
                                               19   spanning five years and reflected in the case’s procedural history before the Court, together with
                                               20   extensive and complex negotiations between and among the parties and their experienced and
                                               21   informed counsel. Included in those negotiations was the involvement of a neutral third-party
                                               22   mediator, the Honorable William J. Cahill (Ret.), from JAMS.
                                               23            The Settlement Agreement falls well within the “range of reasonableness” applicable at
                                               24   the preliminary approval stage. The App Defendants deny that they are liable or that any class
                                               25   member was harmed, but do not oppose this motion and will cooperate in the settlement process.
                                               26   Plaintiffs and their undersigned counsel believe the Settlement Agreement to be in the best
                                               27   interests of the Settlement Class Members and wish to begin the court approval process required
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                                               1    for all class action settlements. Accordingly, Plaintiffs respectfully request that the Court grant
                                               2    this motion.
                                               3    II.    BACKGROUND
                                               4           A.      Procedural History
                                               5           The main Opperman case began in March 2012 in the federal district court in Austin,
                                               6    Texas. ECF No. 1. It followed public news reporting about the uploading of iDevice users’
                                               7    address book data by certain apps available on the Apple App Store without users’ knowledge or
                                               8    consent. ECF No. 1. Federal Trade Commission and Congressional inquiries ensued. ECF No.
                                               9    1.
                                               10          Additional cases were filed in this District shortly after Opperman. ECF No. 401. In
                                               11   January 2013, the federal court in Austin transferred Opperman to this District, finding it a more
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                                               12   convenient forum. ECF No. 218. The court here eventually related the various cases, and
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                                               13   assigned the matter to the Honorable Jon S. Tigar. ECF No. 322. In October 2013, the Court
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                                               14   named co-lead counsel and appointed a Plaintiffs’ Steering Committee. ECF No. 400.
                                               15          The parties engaged in almost three years of Rule 12 motion practice beginning in the
                                               16   Austin federal court. In August 2013, in the related Pirozzi case, the Court sustained all but one
                                               17   of the claims made against Apple from various legal attacks. ECF No. 55. In May 2014, the
                                               18   Court issued a 55-page decision dealing with various legal attacks on the first consolidated
                                               19   amended complaint in the case. ECF No. 67.
                                               20          In June 2014, Plaintiffs filed their operative pleading, the Second Consolidated Amended
                                               21   Complaint (“SCAC”), asserting claims against the App Defendants for invasion of
                                               22   privacy/intrusion on seclusion and conversion, as well as various claims against Apple. ECF
                                               23   No. 478. The App Defendants and Apple responded with nine separate motions to dismiss. On
                                               24   March 23, 2015, following extensive briefing and hearing, the Court issued an order denying the
                                               25   bulk of these motions, granting dismissal of Plaintiffs’ conversion claim and finding, among
                                               26   other things, that Plaintiffs adequately pled a claim for invasion of privacy/intrusion on
                                               27   seclusion against the App Defendants and for aiding and abetting on the part of Apple in
                                               28   connection therewith. ECF No. 543.


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                                               1           In November 2015, Plaintiffs Carter, Cooley and Green moved for class certification
                                               2    against Path and Apple. ECF No. 585. In July 2016, the Court granted in part and denied in
                                               3    part that motion, certifying nominal and punitive damage claims against Path and Apple for a
                                               4    class of users of the Path mobile app who had their address book data uploaded from their
                                               5    iDevices between November 2011 and February 2012. ECF No. 761. Plaintiffs opposed, and
                                               6    the Ninth Circuit subsequently denied Apple’s Rule 23(g) appeal of that order. ECF No. 848.
                                               7           In August 2016, several Plaintiffs filed an omnibus motion for class certification against
                                               8    five of the remaining App Defendants and Apple on their invasion of privacy and aiding and
                                               9    abetting claims. ECF No. 799. At the same time, several Plaintiffs moved for class certification
                                               10   against Apple on their false advertising claims. ECF No. 801-3. The present motion moots the
                                               11   former; the latter certification motion remains pending.
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                                               12          In September 2016, after extensive briefing and argument, the Court issued an order
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                                               13   denying Yelp’s motion for summary judgment. ECF No. 828.
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                                               14          As of this writing, the docket in the Opperman case alone, apart from the other related
                                               15   cases, has almost 900 entries/filings.
                                               16          B.      Counsel’s Investigation and Discovery
                                               17          Formal discovery in the Opperman case began in August 2015. Given Decl. at ¶ 7.
                                               18   Since that time, counsel have defended a dozen-plus Plaintiff depositions (some Plaintiffs were
                                               19   deposed more than once), have responded to hundreds of written discovery requests, have
                                               20   supervised the forensic imaging of Plaintiffs’ respective iDevices, have posed hundreds of
                                               21   written discovery requests to the App Defendants, have reviewed those requests and conducted
                                               22   all follow up meet and confer to them, have organized and reviewed tens of thousands of pages
                                               23   of documents produced in the case and have spent hundreds of thousands of dollars in out-of-
                                               24   pocket costs in prosecuting the action. Id.
                                               25          Counsel have thus far taken the depositions of three Apple employees, one Twitter
                                               26   employee and two Path employees. Id. at ¶ 8. The parties had scheduled several more
                                               27   depositions but those came off calendar when the parties set their mediation with Judge Cahill.
                                               28   Id. Over the course of these proceedings, various discovery disputes made their way to the


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                                               1    Court, including an all-day meet and confer held at the courthouse under Magistrate Judge
                                               2    Spero’s supervision. Id.
                                               3           Counsel retained a source code expert as well as two damages experts; all of Plaintiffs’
                                               4    experts proffered expert reports or opinions to the Court, and all have been deposed. Id. at ¶ 9.
                                               5    (One of the two damages experts gave a declaration in support of the motion to certify the false
                                               6    advertising class against Apple. ECF No. 802-3.) Plaintiffs’ source code expert reviewed,
                                               7    analyzed and reported to counsel upon each of the App Defendants’ source code versions
                                               8    produced to Plaintiffs. Given Decl. at ¶ 9. Much of that review required onsite visits to secure
                                               9    rooms, as well as counsel’s presence. Id.
                                               10          C.      Settlement Negotiations
                                               11          Informal settlement discussions between and among the parties took place throughout
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                                               12   this litigation. Given Decl. at ¶ 10. The parties first engaged in formal mediated negotiations
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                                               13   beginning Nov. 1, 2016 with the Honorable William J. Cahill (Ret.) at JAMS in San Francisco.
          San Francisco, CA 94129




                                               14   Id. Two of the smaller defendants had reached tentative agreements with Plaintiffs prior to the
                                               15   formal joint mediation. Id.
                                               16          Between that date and the Jan. 2017 notice to the Court of the parties’ tentative
                                               17   settlement (ECF No. 856), the parties met two more times with Judge Cahill for a total of three
                                               18   in-person sessions, and engaged in numerous telephone and email communications with him on
                                               19   the nature and scope of their agreement. Id. at ¶ 11. The parties also exchanged mediation
                                               20   briefs as well as additional data and other information pertaining to class size and membership
                                               21   beyond that contained in formal discovery responses. Id. Drafting of the settlement agreement
                                               22   consumed another several weeks, with various iterations exchanged between attorneys for the
                                               23   respective parties before reaching the document proffered to the Court for approval. Id.
                                               24   III.   TERMS OF THE SETTLEMENT
                                               25          The Settlement Agreement resolves the claims of Plaintiffs and the Settlement Class
                                               26   against the App Defendants. The details are contained in the Settlement Agreement, the key
                                               27   terms of which are described below.
                                               28



                                                                                                    4
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                                               1           A.      Provisional Certification of the Settlement Class
                                               2           Plaintiffs seek provisional certification of a Settlement Class, defined in Section 1.36 of
                                               3    the Settlement Agreement. The proposed Settlement Class includes all natural persons in the
                                               4    United States meeting one or more of the following class definitions:
                                               5                           (A) who received from Apple’s App Store a copy of versions 2.5 through
                                                                   3.1 of the iOS mobile application entitled Foodspotting, and activated via such
                                               6
                                                                   App on their Apple iDevice the “Find iPhone Contacts” feature of the
                                               7                   Foodspotting mobile application between August 9, 2011 and February 19, 2012
                                                                   (the “Foodspotting Class Period”);
                                               8
                                                                           (B) who received from Apple’s App Store one or more of versions 1.1
                                               9                   through 4.2 of the iOS mobile application entitled Foursquare, and did one or
                                                                   both of the following between April 4, 2009 and February 14, 2012 (the
                                               10
                                                                   “Foursquare Class Period”): (1) for versions 1.1 through 4.2, activated via such
                                               11                  App on their Apple iDevice (iPhone, iPad, iPod Touch) the “Add Friends”
                                                                   feature of the Foursquare mobile application or (2) for versions 3.1 through 4.2,
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                                               12                  registered via their iDevice as a Foursquare user through the Foursquare mobile
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                                                                   application;
                                               13
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                                                                           (C) who received from Apple’s App Store one or more of versions 1.5.0
                                               14                  through 4.1 of the iOS mobile application entitled Gowalla, and did one or both
                                                                   of the following within the Gowalla mobile application between February 23,
                                               15
                                                                   2010 and February 23, 2012 (the “Gowalla Class Period”): (1) selected a
                                               16                  checkbox stating “Automatically connect with friends from my address book”
                                                                   and then depressed a “Let’s Get Started” button; (2) depressed a “Find Friends”
                                               17                  button and then depressed an “Address Book” button;
                                               18                          (D) (i) owned an Apple iDevice on which he or she registered an account
                                                                   for any of the versions 1.0.0 through 2.0.7 of the Instagram App obtained from
                                               19
                                                                   the Apple App Store; (ii) utilized the Find Friends feature of the Instagram App
                                               20                  between October 6, 2010 and February 10, 2012 (the “Instagram Class Period”);
                                                                   and (iii) resided within the United States at the time he or she registered an
                                               21                  Instagram account and used the Find Friends Feature;
                                               22                          (E) (i) owned an Apple iDevice on which he or she downloaded from
                                                                   Apple App Store, installed, and registered an account on the Kik App; (ii)
                                               23                  installed version 5.4.0 of the Kik App; (iii) after installing version 5.4.0, utilized
                                               24
                                                                   the Suggested Friends feature of the Kik App between December 22, 2011 and
                                                                   February 11, 2012 (the “Kik Class Period”); (iv) as a result of such use of the
                                               25                  Suggested Friends Feature, had contacts data uploaded to Kik’s servers in non-
                                                                   hashed format; and (v) resided within the United States at the time he or she
                                               26                  registered a Kik account and used the Suggested Friends Feature;
                                               27                          (F) who received from Apple’s App Store a copy of version 2.0 through
                                                                   2.0.5 of the iOS mobile application entitled Path, and who were Path registrants
                                               28
                                                                   and activated via such App on their Apple iDevice the Path mobile application
                                                                   between November 29, 2011 and February 7, 2012 (the “Path Class Period”);

                                                                                                      5
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                                               1                           (G) who received preinstalled on an Apple iDevice and/or from Apple’s
                                                                   App Store between March 11, 2011 and February 21, 2012 (the “Twitter Class
                                               2
                                                                   Period”) a copy of versions 3.3 through 4.0.1 of the iOS mobile application
                                               3                   entitled Twitter, and activated via such App on their Apple iDevice the “Find
                                                                   Friends” feature of the Twitter mobile application; and/or
                                               4
                                                                          (H) who received from Apple’s App Store a copy of versions 4.0.0
                                               5                   through 5.6.0 of the iOS mobile application entitled Yelp, and activated via such
                                                                   App on their Apple iDevice the “Find Friends” feature of the Yelp mobile
                                               6
                                                                   application between January 16, 2010 and February 22, 2012 (the “Yelp Class
                                               7                   Period”).
                                                           The settlement class definition comes directly from Plaintiffs’ class certification
                                               8
                                                    motion(s). In the case of Path, the definition mirrors the one the Court accepted for certification.
                                               9
                                                    ECF No. 761, at 28. The others track those proposed in the omnibus motion. ECF No. 870-1, at
                                               10
                                                    2. The settlement class definition deviates from the class proposed in the Second Consolidated
                                               11
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                                                    Amended Complaint (ECF No. 478) only in that it is more narrowly tailored, due to the benefit
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                                               12
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                                                    of the extensive discovery conducted in this case.
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                                                           B.      Benefits to the Settlement Class
                                               14
                                                                   1.      The Settlement Account and Contingent Payment
                                               15
                                                           Pursuant to Section 1.37 of the Settlement Agreement, the App Defendants will establish
                                               16
                                                    a non-reversionary Settlement Account of $5.3 Million Dollars to be used for: (a) providing
                                               17
                                                    compensation to Settlement Class Members and (b) in the case of Foodspotting, Gowalla, Yelp,
                                               18
                                                    and Twitter (to the extent Twitter’s pro-rated administration costs exceed $125,000), payment of
                                               19
                                                    a share of Settlement Administration and Notice Expenses, including the costs of disseminating
                                               20
                                                    notice, processing Claim Forms and requests for exclusion, administering payments to
                                               21
                                                    Settlement Class Members, and other costs incurred in performing the obligations of the
                                               22
                                                    Settlement Administrator. (Settlement Agreement, §§ 1.37, 2.1-2.3, 5.1-5.1.4.) Any fee and
                                               23
                                                    cost award to Class Counsel and incentive awards to Plaintiffs shall also be paid from the
                                               24
                                                    Settlement Account. (Settlement Agreement, § 8.3.)
                                               25
                                                                           a.     The Claim Process
                                               26
                                                           Pursuant to the proposed Plan of Allocation contained in Section 7 of the Settlement
                                               27
                                                    Agreement, to receive payment under the Settlement, Settlement Class Members must timely
                                               28
                                                    submit a valid Electronic Claim Form through the Settlement Website. (Settlement Agreement,

                                                                                                     6
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                                               1    § 7.1.) A proposed Electronic Claim Form is attached as Exhibit A to the Settlement
                                               2    Agreement. (Settlement Agreement, § 1.8.) The deadline for submitting claims will be one-
                                               3    hundred and twenty (120) days after entry of the proposed Preliminary Approval Order or such
                                               4    other deadline as is set by the Court. (Settlement Agreement, § 1.1.)
                                               5            Upon receipt of a completed Electronic Claim Form, the Settlement Administrator shall
                                               6    cause an automated response to be sent to the Settlement Class Member via email, confirming
                                               7    receipt of the completed form. (Settlement Agreement, § 7.3.) After final approval, the
                                               8    Settlement Administrator will calculate the value of each share and disclose those calculations to
                                               9    Remaining App Developer Defendants’ Counsel and Co-Lead Class Counsel, and then
                                               10   distribute payment to each Settlement Class Member who timely submitted a valid Electronic
                                               11   Claim Form (“Eligible Claimant”). (Settlement Agreement, §§ 7.7, 7.8.)
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                                               12                          b.     Payments to Settlement Class Members
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                                               13           Pursuant to the proposed plan of allocation contained in Section 7 of the Settlement
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                                               14   Agreement, Eligible Claimants shall be sent payment via either (1) a physical postcard check,
                                               15   valid for ninety (90) days, or (2) Electronic Payment in the form of a code for cash value credit
                                               16   on Amazon.com. (Settlement Agreement, §§ 7.4, 7.8.) 1 Where an Eligible Claimant elects to
                                               17   receive a postcard check, the amount of $0.35 shall be deduced to cover the cost of postage, and
                                               18   the incremental cost over the cost of electronic distribution shall be deducted from the common
                                               19   fund. (Settlement Agreement, §§ 7.4, 5.1.3.2(B).) This option is only designed for people who
                                               20   do not shop at Amazon.com because sending physical checks to all claimants would be cost
                                               21   prohibitive. Given Decl. at ¶ 15.
                                               22           Each Eligible Claimant is entitled to one share for each App designated on their
                                               23   Electronic Claim Form, subject to a maximum of eight shares per Eligible Claimant.
                                               24   (Settlement Agreement, § 7.5.) Payments from the Settlement Fund shall be distributed pro rata
                                               25   to each Eligible Claimant based on the total number of shares eligible for distribution.
                                               26   (Settlement Agreement, §§ 7.4, 7.7.) Distribution of payments to Eligible Claimants shall be
                                               27

                                               28
                                                    1
                                                            Payments made with Amazon.com credits do not expire. Given Decl. at ¶ 15.

                                                                                                    7
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                                               1    completed within thirty (30) days after the Effective Date, as defined in Section 1.7 of the
                                               2    Settlement Agreement. (Settlement Agreement, §§ 7.9, 1.7.)
                                               3            Any funds from checks not cashed within ninety (90) days of issuance and funds from
                                               4    failed Electronic Payments shall be distributed on a cy pres basis to the Electronic Frontier
                                               5    Foundation (“EFF”) after first receiving permission of the Court to do so. 2 (Settlement
                                               6    Agreement, § 7.10.)
                                               7            C.      Notice Plan
                                               8            Pursuant to the proposed notice plan contained in Section 5 of the Settlement
                                               9    Agreement, the parties have designed a plan to give Settlement Class Members the best notice
                                               10   practicable of the Settlement Agreement, the claims process and deadline, Class Counsel’s fee
                                               11   application, and their opt-out and objection rights. As set forth below, the Notice Plan will be
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                                               12   administered with the help of an independent, and highly qualified, Settlement Administrator,
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                                               13   and will consist of several parts.
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                                               14                   1.     Settlement Website and Full Notice
                                               15           Within thirty (30) days after entry of the Preliminary Approval Order, the Settlement
                                               16   Administrator will set up the Settlement Website and a toll-free number. (Settlement
                                               17   Agreement, § 5.3.) The Settlement Website will post notice generally describing the terms of
                                               18   the Settlement, including the proposed Plan of Allocation, and the terms of the Co-Lead Class
                                               19   Counsel’s anticipated Fee and Expense Application (“Full Notice”). (Settlement Agreement, §
                                               20   1.16.) The Full Notice will be published on the Settlement Website; a proposed Full Notice is
                                               21   attached as Exhibit B to the Settlement Agreement. (Settlement Agreement, § 5.3.)
                                               22                   2.     Direct Email Notice
                                               23           Within fifteen (15) days after the entry of the Preliminary Approval Order, each
                                               24   Remaining App Developer Defendant shall provide the Settlement Administrator with a list of
                                               25   Settlement Class Members, including their names, usernames, email addresses, or, for Twitter,
                                               26

                                               27   2
                                                             EFF is the leading nonprofit organization defending civil liberties in the digital world.
                                               28   Founded in 1990, EFF champions user privacy, free expression, and innovation through impact
                                                    litigation, policy analysis, grassroots activism, and technology development. See Electronic
                                                    Frontier Foundation, About Us, https://www.eff.org/about (last visited on March 27, 2017).
                                                                                                     8
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                                               1    Twitter Handles, to the extent this information is in the Remaining App Developer Defendants’
                                               2    possession. (Settlement Agreement, § 4.1.) To the extent any Remaining App Developer
                                               3    Defendant is unable to provide email addresses (or, for Twitter, handles), the parties will meet
                                               4    and confer regarding alternative contact information to be provided to the Settlement
                                               5    Administrator pursuant to Section 4.1.1 of the Settlement Agreement. (Settlement Agreement, §
                                               6    4.1.1.)
                                               7              Within sixty (60) days after entry of the Preliminary Approval Order, the Settlement
                                               8    Administrator will send notice summarizing the proposed Settlement terms (“Summary Notice”)
                                               9    by email to the Settlement Class Members. (Settlement Agreement, § 5.2.2.) A proposed
                                               10   Summary Notice to be sent via email is attached as Exhibit C to the Settlement Agreement.
                                               11   (Settlement Agreement, § 1.40.1.)
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                                               12                     3.     Twitter “Promoted Tweet” Notice
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                                               13             Within thirty (30) days after entry of the Preliminary Approval Order, the Settlement
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                                               14   Administrator shall use the Twitter account @settlementnews (or other mutually agreeable
                                               15   account) as a Twitter advertiser and shall send a Summary Notice using Twitter’s Promoted
                                               16   Tweet’s product to all potential class members for whom a Twitter handle is provided.
                                               17   (Settlement Agreement, § 5.2.1.) A proposed Summary Notice to be published via Promoted
                                               18   Tweet is attached as Exhibit D to the Settlement Agreement. (Settlement Agreement, § 1.40.2.)
                                               19             D.      Opt-Out Procedure
                                               20             Under Section 6.2 of the Settlement Agreement, any person within the definition of the
                                               21   Settlement Class may request to be excluded from the Settlement Class by sending a written
                                               22   request to the Settlement Administrator postmarked on or before a date no later than sixty (60)
                                               23   days after the Notice date (the “Opt-Out Deadline”). (Settlement Agreement, §§ 1.22, 6.2.)
                                               24   Valid requests must include the information prescribed by the Notice, including a statement that
                                               25   the person sending the request wishes to be excluded from the Settlement Class. (Settlement
                                               26   Agreement, § 6.2.)
                                               27

                                               28



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                                               1           E.      Opportunity to Object
                                               2           Under Section 6.1 of the Settlement Agreement, any person within the definition of the
                                               3    Settlement Class who does not timely and validly request to be excluded may object to the
                                               4    Settlement, Class Counsel’s fee application, and/or the amount requested for incentive awards
                                               5    for the Representative Plaintiffs. (Settlement Agreement, § 6.1.) To be considered, an objection
                                               6    must be filed with the Court, and must be in writing, personally signed by the objector, and
                                               7    include the information prescribed by the Notice. (Settlement Agreement, § 6.1.)
                                               8           F.      Payment of Attorneys’ Fees, Costs, and Expenses
                                               9           Under Section 8 of the Settlement Agreement, Class Counsel will petition the Court for
                                               10   reasonable attorneys’ fees, costs, and expenses. (Settlement Agreement, § 8.1.) Should the
                                               11   Court award less than the amount sought in the petition, the difference between the amount
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                                               12   sought and the amount awarded shall remain in the Settlement Account to pay Eligible
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                                               13   Claimants. (Settlement Agreement, §§ 8.2, 8.3.)
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                                               14          G.      Incentive Awards for Representative Plaintiffs
                                               15          Under Section 9 of the Settlement Agreement, Class Counsel are entitled to petition the
                                               16   Court for an Incentive Award for each Representative Plaintiff. (Settlement Agreement, § 9.1.)
                                               17   Should the Court award less than the amount sought in the petition, the difference between the
                                               18   amount sought and the amount awarded shall remain in the Settlement Account to pay Eligible
                                               19   Claimants. (Settlement Agreement, §§ 9.2, 9.3.) The Incentive Award is designed to reward the
                                               20   class representatives for their service on behalf of the Settlement Class.
                                               21          H.      Release
                                               22          Under Section 11 of the Settlement Agreement, in exchange for the benefits provided
                                               23   pursuant to the Settlement Agreement, Settlement Class Members who have not excluded
                                               24   themselves from the Settlement by the Opt-Out Deadline (“Releasing Persons”) will release the
                                               25   Remaining App Developer Defendants and all related parties and Apple, Inc. (“Released
                                               26   Persons”) from all claims that were or could have been asserted arising from or related to
                                               27   allegations in the pending lawsuit regarding the alleged misappropriation and misuse of
                                               28   Plaintiffs’ private address book data. (Settlement Agreement, §§ 1.28, 1.29, 11.1, 11.3.)


                                                                                                     10
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                                               1             Apple, Inc. shall be released by this agreement as to the aiding and abetting claims, but
                                               2    not as to Plaintiffs’ separate misrepresentation claims against Apple. (Settlement Agreement, §
                                               3    1.28.)
                                               4    IV.      LEGAL ARGUMENT
                                               5             A.      Class Action Settlement Procedure
                                               6             A class action may not be settled without the approval of the Court. Fed. R. Civ. P.
                                               7    23(e); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1289 (9th Cir. 1992); Fraley v.
                                               8    Facebook, 966 F. Supp. 2d 939, 941 (N.D. Cal. 2013).
                                               9             Judicial proceedings under Rule 23 have led to a defined three-step procedure for
                                               10   approval of class action settlements:
                                               11                    (1)    Certification of a settlement class and preliminary approval of the
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                                               12   proposed settlement after submission to the Court of a written motion for preliminary approval;
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                                               13                    (2)    Dissemination of notice of the proposed settlement to the affected class
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                                               14   members; and
                                               15                    (3)    A formal fairness hearing, or final settlement approval hearing, at which
                                               16   evidence and argument concerning the fairness, adequacy, and reasonableness of the settlement
                                               17   are presented.
                                               18   See Manual for Complex Litigation, §§ 21.63 et seq. (4th ed. 2004). This procedure safeguards
                                               19   class members’ procedural due process rights and enables the Court to fulfill its role as the
                                               20   guardian of class interests. See 4 Newberg on Class Actions, §§ 11.22, et seq. (4th ed. 2002)
                                               21   (describing class action settlement procedure).
                                               22            By this motion, Plaintiffs request that the Court take the first step in the settlement
                                               23   approval process and preliminarily approve the parties’ proposed Settlement Agreement.
                                               24            B.      The Proposed Settlement Class Should be Certified
                                               25            Provisional certification of the Settlement Class as defined for settlement purposes is
                                               26   appropriate because Rule 23(a) and Rule 23(b)(3) are satisfied. The Court ruled upon this
                                               27   subject in connection with the Path class certification motion (ECF No. 761), and at the time of
                                               28   the Settlement Agreement it had pending before it an omnibus motion for class certification


                                                                                                       11
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                                               1    addressing the subject for the other App Defendants with the exception of Foodspotting and
                                               2    Gowalla, who had settled (ECF No. 870).
                                               3            The Settlement Class includes an estimated seven million eligible claimants. 3 Given
                                               4    Decl. at ¶ 12. However, that figure embodies multiple counting for individuals who may have
                                               5    downloaded more than one charged app – for example, all but one of the Plaintiffs fit within this
                                               6    category. Id.
                                               7            In any event, commonality, typicality and predominance are all met for reasons
                                               8    previously set out for the Court in Plaintiffs’ class certification motions. Similarly, Plaintiffs
                                               9    and Class Counsel have previously demonstrated that they will fairly and adequately protect the
                                               10   interests of Settlement Class Members. ECF No. 761.
                                               11           For all the reasons stated previously, Plaintiffs respectfully submit that the Court approve
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                                               12   certification of the proposed Settlement Class.
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                                               13           C.      Standards for Preliminary Settlement Approval
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                                               14           Rule 23(e) requires that any settlement of claims brought on a class basis be approved by
                                               15   the Court. There is “a strong judicial policy that favors settlements, particularly where complex
                                               16   class action litigation is concerned.” City of Seattle, 955 F.2d at 1276. See also In re Syncor
                                               17   ERISA Litig., 516 F.3d 1095, 1101 (9th Cir. 2008); Churchill Village v. Gen. Elec., 361 F.3d
                                               18   566, 576 (9th Cir. 2004).
                                               19           Courts recognize that as a matter of sound policy, settlements of disputed claims are
                                               20   encouraged and a settlement approval hearing should “not [] be turned into a trial or rehearsal
                                               21   for trial on the merits.” Officers for Justice v. Civil Serv. Comm’n, 688 F. 2d 615, 625 (9th Cir.
                                               22   1982), cert. denied, 459 U.S. 1217 (1983). The Court must give “proper deference” to the
                                               23   Settlement Agreement, because “intrusion upon what is otherwise a private consensual
                                               24

                                               25   3
                                                             The class lists provided by the App Defendants will be over-inclusive because (1) two of
                                               26   the App Defendants cannot presently segregate class members from their general user base as of
                                                    the relevant period, and (2) many of the other App Defendants cannot segregate persons who
                                               27   used an Android device instead of an Apple iOS device or who reside outside of the United
                                                    States from their lists of persons who triggered the find friends feature in the manner challenged
                                               28   in this case. As a result, the Notice will be sent to an over-inclusive list to make sure all class
                                                    members receive notice. Given Decl. at ¶ 13; von Loewenfeldt Decl. at ¶ 14. The simple online
                                                    claim form allows individuals receiving the notice to confirm their class membership.
                                                                                                      12
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                                               1    agreement negotiated between the parties to a lawsuit must be limited to the extent necessary to
                                               2    reach a reasoned judgment that the agreement is not the product of fraud or overreaching by, or
                                               3    collusion between, the negotiating parties, and that the settlement, taken as a whole, is fair,
                                               4    reasonable and adequate to all concerned.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1027 (9th
                                               5    Cir. 1998) (quotation omitted).
                                               6            The purpose of the Court’s preliminary evaluation of the proposed Settlement
                                               7    Agreement is to determine whether it is within “the range of reasonableness,” and thus whether
                                               8    notice to the class of the terms and conditions of the settlement, and the scheduling of a formal
                                               9    fairness hearing, are worthwhile. “Preliminary approval of a settlement is appropriate if ‘the
                                               10   proposed settlement appears to be the product of serious, informed, non-collusive negotiations,
                                               11   has no obvious deficiencies, does not improperly grant preferential treatment to class
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                                               12   representatives or segments of the class, and falls within the range of possible approval.’ The
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                                               13   proposed settlement need not be ideal, but it must be fair and free of collusion, consistent with
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                                               14   counsel's fiduciary obligations to the class.” In re Cathode Ray Tube (CRT) Antitrust Litig., No.
                                               15   14-CV-2058 JST, 2017 WL 565003, at *3 (N.D. Cal. Feb. 13, 2017) (citations omitted).
                                               16   Application of the pertinent factors here support an order granting the motion for preliminary
                                               17   approval. Churchill, 361 F.3d at 575; see also Torrisi v. Tucson Elec. Power, 8 F.3d 1370, 1375
                                               18   (9th Cir. 1993).
                                               19           At the preliminary approval stage, a final analysis of the settlement’s merits is
                                               20   premature. A more detailed assessment of those merits is reserved for final approval, after class
                                               21   notice has been sent and class members have had the opportunity to object to, or opt out of, the
                                               22   settlement. See, e.g., Tableware Antitrust Litigation, 484 F. Supp. 2d 1078, 1079 (N.D. Cal.
                                               23   2007); Vasquez v. Coast Valley Roofing, 670 F. Supp. 2d 1114, 1125 (E.D. Cal. 2009); Manual
                                               24   for Complex Litigation, § 13.14 at 173 (“First, the judge reviews the proposal preliminarily to
                                               25   determine whether it is sufficient to warrant public notice and a hearing. If so, the final decision
                                               26   on approval is made after the hearing.”). Nonetheless, as shown below, the proposed Settlement
                                               27   is fair, reasonable and adequate. In the event, the Court should allow the proposed Notice Plan
                                               28   to go forward.


                                                                                                     13
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                                               1            D.      The Proposed Settlement Agreement Is Within the Range of Reasonableness
                                               2            The proposed Settlement Agreement meets the standards for preliminary approval. As a
                                               3    preliminary matter, the Settlement Agreement is entitled to “an initial presumption of fairness”
                                               4    because it is the result of arm’s length negotiations among experienced counsel, facilitated by an
                                               5    experienced and respected mediator, occurring after the parties completed significant formal fact
                                               6    discovery and Plaintiffs tested the bona fides of one class certification motion and the App
                                               7    Defendants tested the bona fides of one summary judgment motion. Create-A-Card v. Intuit,
                                               8    No. 07-6452, 2009 U.S. Dist. LEXIS 93989, at *8-9 (N.D. Cal. Sept. 22, 2009) (“This Court
                                               9    begins its analysis with a presumption that a class settlement is fair and should be approved if it
                                               10   is the product of arm’s length negotiations conducted by capable counsel with extensive
                                               11   experience in complex class action litigation.”); Linney v. Cellular Alaska, No. 96-3008, 1997
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                                               12   U.S. Dist. LEXIS 24300, at *16 (N.D. Cal. July 18, 1997) (“The involvement of experienced
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                                               13   class action counsel and the fact that the settlement agreement was reached in arm’s length
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                                               14   negotiations, after relevant discovery had taken place create a presumption that the agreement is
                                               15   fair.”), aff’d, 151 F.3d 1234 (9th Cir. 1998).
                                               16           Applying the pertinent Churchill factors, the Settlement Agreement is clearly within the
                                               17   range of reasonableness.
                                               18           Strengths and risks of Plaintiffs’ case – While the Settlement Agreement provides the
                                               19   Settlement Class with a recovery consistent with this Court’s prior ruling concerning nominal
                                               20   damages, the outcome of a trial – and any subsequent appeals – is highly uncertain and in any
                                               21   event would substantially delay any recovery achieved. While Plaintiffs defeated Yelp’s “bell-
                                               22   weather” summary judgment motion, liability remains highly disputed in the case. So does the
                                               23   question of whether claims of some or all of the Settlement Class should be certified. As the
                                               24   Court is well aware, throughout this litigation the App Defendants have vigorously contested
                                               25   both their liability and Plaintiffs’ ability to certify the asserted claims for class treatment, and
                                               26   have promised serial motion practice to test these propositions. ECF No. 617 (Tr.), at pg. 29, ¶¶
                                               27   1-25, pg. 30, ¶¶ 1-23, pg. 31, ¶¶ 16-24, pg. 33, ¶¶ 2-9, 11-23.
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                                               1           Risk of maintaining class action status to trial – The Court has certified one nominal
                                               2    damages class against Path on Plaintiffs’ invasion of privacy/intrusion upon seclusion claim.
                                               3    ECF No. 761. Plaintiffs have pending an omnibus motion against five of the remaining seven
                                               4    App Defendants who propose to settle. ECF No. 870. While Plaintiffs’ counsel is confident of
                                               5    their position on class certification with regard to the other App Defendants, there are risks
                                               6    relating to certifying additional classes in the case. See, e.g., Given Decl. at ¶ 16 (discussing
                                               7    ascertainability issues). Moreover, case law continues to evolve in this area.
                                               8           Amount offered in settlement – The consideration – a $5.3 million cash fund for a class
                                               9    of approximately seven million or less – is substantial, particularly in light of the Court’s prior
                                               10   ruling concerning nominal damages, the very real risk that the jury could find no liability or
                                               11   award no damages, and the fact that any jury verdict would be subject to appellate review.
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                                               12   Relevant points of comparison indicate that the amount in settlement is in excess on a per head
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                                               13   basis than settlements approved by this District in other data privacy matters. Given Decl. at ¶¶
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                                               14   15 & 16.
                                               15          The Settlement Agreement treats all class members and apps equally. Doing so is fair
                                               16   because nominal damages are not intended to compensate or be dependent on a defendant’s
                                               17   degree of fault. As the Ninth Circuit has explained,
                                               18                  Nominal damages, as the term implies, are in name only and
                                                                   customarily are defined as a mere token or “trifling.” . . .
                                               19
                                                                   ***
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                                                                   An award of nominal damages is intended to serve as a symbol that
                                                                   defendant’s conduct resulted in a technical, as opposed to
                                               22                  injurious, violation of plaintiff's rights. Nominal damages are not
                                                                   intended to compensate a plaintiff for injuries, nor to act as a
                                               23                  measure of the severity of a defendant’s wrongful conduct.
                                                                   Recovery of nominal damages is important not for the amount of
                                               24                  the award, but for the fact of the award. Indeed, nominal damages
                                                                   do not measure anything.
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                                               1    Cummings v. Connell, 402 F.3d 936, 945 (9th Cir. 2005) (citations omitted). As the Court has
                                               2    previously noted, the nature of nominal damages erases many of the potential distinctions in this
                                               3    case. 4 (ECF No. 763, at pg. 26, fn 12.)
                                               4            The extent of discovery completed and stage of proceedings – As detailed above and in
                                               5    the supporting declarations, extensive discovery has occurred in the case against the App
                                               6    Defendants. Plaintiffs and their counsel consulted with source code and damages experts. They
                                               7    also had the benefit of the Court’s views on the matter in rulings on liability and class
                                               8    certification. The information revealed in discovery as well as their experts’ review and analysis
                                               9    of same, together with the Court’s rulings, provided Plaintiffs and their counsel with a sufficient
                                               10   baseline to evaluate the strengths and weaknesses of Plaintiffs’ claims and the benefits of the
                                               11   proposed Settlement Agreement.
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                                               12           The experience and views of lead counsel – Plaintiffs and the Class Members are
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                                               13   represented in this case by lead counsel who have significant experience in complex class action
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                                               14   litigation, have negotiated other substantial class settlements, and have the ability to litigate this
                                               15   case on a classwide basis together with the other members of the Plaintiffs’ Steering Committee
                                               16   if a fair settlement were not offered. Given Decl. at ¶¶ 1-3; von Loewenfeldt Decl. at ¶¶ 1-4;
                                               17   Edwards Decl. at ¶¶ 1-4; Schwenker Decl. at ¶¶ 1-4; Sarnelli Decl. at ¶¶ 1-3. Counsel were
                                               18   satisfied with the Settlement Agreement only after conducting intensive settlement negotiations
                                               19   and thorough investigation into the factual and legal issues raised in this case, the latter of which
                                               20   were thoroughly vetted by Plaintiffs’ counsel and tested by the Court. Given Decl. at ¶ 18; von
                                               21   Loewenfeldt Decl. at ¶ 19; Edwards Decl. at ¶ 5-17; Schwenker Decl. at ¶¶ 5-7, 9, 13; Sarnelli
                                               22   Decl. at ¶ 4. In negotiating and evaluating the Settlement Agreement, counsel relied upon their
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                                                            Nor do potential differences in theoretical punitive damage claims require distinctions be
                                               25   drawn between defendants. Saint v. BMW of N. Am., LLC, No. CIV.A. 12-6105 CCC, 2015 WL
                                                    2448846, at *9 (D.N.J. May 21, 2015) (“the mere possibility of punitive or multiple damages is
                                               26   not an appropriate measure of the Settlement's reasonableness”); Mangone v. First USA Bank,
                                                    206 F.R.D. 222, 229 (S.D. Ill. 2001) (“Punitive damages are generally not appropriate in
                                               27
                                                    measuring the fairness of a proposed class action settlement.”)) (citing cases); In re Am. Family
                                               28
                                                    Enterprises, 256 B.R. 377, 425 (D.N.J. 2000) (“However, single damages, not treble or punitive
                                                    damages, are the appropriate yardstick by which the fairness of a proposed class action
                                                    settlement should be measured.”).

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                                               1    investigation and drew on their experience, skill and expertise in determining that the Settlement
                                               2    Agreement was fair, reasonable and adequate. Given Decl. at ¶ 19; von Loewenfeldt Decl. at ¶
                                               3    20. While lead counsel believe that they can overcome the various defenses of the App
                                               4    Defendants, they are indicative of the risks, hurdles, and delays that Plaintiffs and the Class face
                                               5    should this matter proceed in litigation. Given Decl. at ¶ 19; von Loewenfeldt Decl. at ¶ 20.
                                               6    Lead counsel believe that the proposed Settlement Agreement provides considerable monetary
                                               7    relief for Settlement Class Members in light of the Court’s order regarding nominal damages,
                                               8    while allowing them to avoid the risks of unfavorable, and in some cases possibly dispositive,
                                               9    rulings on these and other issues. Given Decl. at ¶ 20; von Loewenfeldt Decl. at ¶ 21.
                                               10          E.      The Proposed Notice Plan Should Be Approved.
                                               11          Rule 23(e)(1) states that, “[t]he court must direct notice in a reasonable manner to all
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                                               12   class members who would be bound by a proposed settlement, voluntary dismissal, or
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                                               13   compromise.” Notice to the class must be “the best notice that is practicable under the
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                                               14   circumstances, including individual notice to all members who can be identified through
                                               15   reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B); see also Amchem Prods. v. Windsor, 521 U.S.
                                               16   591, 617 (1997).
                                               17          Here, Settlement Class Members will receive the Notice and Claim Form by email
                                               18   and/or tweet notice as provided in Section 5.2.2 of the Settlement Agreement. For those App
                                               19   Defendants who can identify the specific users who had their address book data uploaded by one
                                               20   of their charged apps, those users will get such direct individual email notice. For those who
                                               21   cannot, there will be the same direct, individual email notice but to every user who downloaded
                                               22   and registered for that charged app during the Class Period; in this respect, the notice will be
                                               23   over-inclusive, since some who downloaded and registered for a given app may not have had
                                               24   their address book data uploaded by that app. Given Decl. at ¶¶ 13, 14; von Loewenfeldt Decl.
                                               25   at ¶¶ 14, 15. Settlement Class Members who used the challenged Twitter app will receive a
                                               26   “tweet” notice with a link to the Administrator’s website with the Full Notice and Claim Form.
                                               27   (Settlement Agreement, § 5.2.1.)
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                                               1             This is undoubtedly the best notice practicable under the circumstances. The parties will
                                               2    also cause the Settlement Administrator to maintain a website with information on the
                                               3    settlement. (Settlement Agreement, § 5.3.)
                                               4             In addition to the manner of giving notice to the Class, the contents of the notice itself
                                               5    will satisfy Rule 23(c)(2)(B), as the notice will include all required elements: “(i) the nature of
                                               6    the action; (ii) the definition of the class certified; (iii) the class claims, issues, or defenses; (iv)
                                               7    that a class member may enter an appearance through an attorney if the member so desires; (v)
                                               8    that the Court will exclude from the class any member who requests exclusion; (vi) the time and
                                               9    manner for requesting exclusion; and (vii) the binding effect of a class judgment on members
                                               10   under Rule 23(c)(3).” Copies of the proposed notices to the Class are attached as Exhibits B-D
                                               11   to the Settlement Agreement, and have been emailed to this Court pursuant to the Court’s Local
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                                               12   Rules.
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                                               13            Finally, Section 5.4 of the Settlement Agreement comports with the Class Action
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                                               14   Fairness Act by requiring the App Defendants to provide notice to the proper entities within 10
                                               15   days after the Settlement Agreement is filed with the Court. See 28 U.S.C. § 1715.
                                               16            Accordingly, the form of notice and the manner of giving notice should be approved.
                                               17            F.      The Proposed Plan of Distribution Is Fair, Reasonable, and Adequate
                                               18            A plan of distribution of class settlement funds is subject to the “fair, reasonable and
                                               19   adequate” standard that applies to approval of class settlements. In re Citric Acid Antitrust
                                               20   Litig., 145 F. Supp. 2d 1152, 1154 (N.D. Cal. 2001). “A plan of allocation that reimburses class
                                               21   members based on the type and extent of their injuries is generally reasonable.” In re Oracle
                                               22   Sec. Litig., No. 90-0931, 1994 U.S. Dist. LEXIS 21593, at *3 (N.D. Cal. June 16, 1994).
                                               23            Here, as explained above, the parties propose that the funds paid to Settlement Class
                                               24   Members from the Settlement Account be distributed through a claims process and allocated
                                               25   pursuant to a pro rata distribution based on the number of Class Members who submit a valid
                                               26   claim, multiplied by the number of apps they may have used that uploaded their address book
                                               27   data. (Settlement Agreement, §§ 7.1, 7.4, 7.5.) As discussed above, this equal method of
                                               28   distribution, while accounting for the number of apps each Class Member used, is fair given the


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                                               1    nominal nature of the damages. Given Decl. at ¶ 15. Any returned funds (from uncashed
                                               2    checks or failed electronic payments) will be distributed on a cy pres basis only if unclaimed
                                               3    after ninety (90) days. (Settlement Agreement, §§ 7.10.2-7.10.4.)
                                               4             G.      The Court Should Set a Final Approval Hearing Schedule
                                               5             The last step of the settlement approval process is the final approval hearing, at which
                                               6    the Court hears all evidence and argument necessary to evaluate the proposed Settlement
                                               7    Agreement. At that hearing, proponents of the Settlement Agreement will explain and describe
                                               8    its terms and conditions and offer argument in support of approval and members of the
                                               9    Settlement Class, or their counsel, may be heard in support of or in opposition to the Settlement.
                                               10            Plaintiffs propose the following schedule for final approval of the Settlement:
                                               11
                                                                    Event                           Timing                          Date 5
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                                                         Last day for the               30 days after entry of this      June 26, 2017
                                               13        Administrator to send          Order
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                                                         Notice & start operating
                                               14        Settlement Website
                                               15        Last day for Plaintiffs to     106 days after entry of this     September 11, 2017
                                                         file their motion for          Order
                                               16
                                                         attorneys’ fees, costs, and
                                                         incentive awards to be
                                               17
                                                         heard at the Fairness
                                               18
                                                         Hearing

                                               19        Last day for Class             120 days after entry of this     September 25, 2017
                                                         Members to file a claim,       Order
                                               20        request exclusion or object
                                                         to the Settlement
                                               21
                                                         Last day for parties to file   137 days after entry of this     October 12, 2017
                                               22        motion for final approval      Order
                                                         and supporting briefs
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                                                          The specific calendar dates proposed assume a Preliminary Approval Order is entered on
                                                    May 25, 2017.
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                                               1    V.     CONCLUSION
                                               2           Based on the foregoing, Plaintiffs submit that the proposed Settlement Agreement is fair,
                                               3    adequate and reasonable, and in the best interests of the Settlement Class. Accordingly,
                                               4    Plaintiffs respectfully request that the Court order the relief requested above.
                                               5

                                               6

                                               7    Dated: April 3, 2017                          /s/ David M. Given____________________
                                                                                                  David M. Given
                                               8                                                  Nicholas A Carlin
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                                                                                                  Plaintiffs’ Liaison Counsel
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